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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                            HELENA DIVISION

UNITED STATES OF AMERICA,                   CR 12-4-H-DWM

            Plaintiff,

     vs.

DOUGLAS EDWARD HEATH,                       ORDER

            Defendant.

      Before the Court are Defendant Douglas Edward Heath’s “Motion to

Suppress or Dismiss” and the government’s unopposed motion for leave to file

under seal the unredacted discovery related to the government’s response to

Heath’s motion.

I. Heath’s motion

      Relying on United States v. Jones, ___ U.S. ___, 132 S.Ct. 945 (2012),

Heath alleges law enforcement violated his rights by monitoring his movements

without a warrant through the use of a GPS tracking device. Acting at the behest

of an agent of the Department of Homeland Security Investigations, a Missouri

River Drug Task Force officer in Montana placed a GPS device on a car that
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Heath had reserved to rent. The device was used March 25, 2010, through March

28, 2011, and then retrieved by the officer. Law enforcement followed the car to a

Helena address and tracked the car as it was driven to Spokane, Washington,

Ellenburg, Washington, and toward Yakima, Washington. Heath seeks to

suppress all the evidence in his case, alleging it was identified through the

unlawful use of the GPS tracking device.

      United States v. Jones was decided on January 23, 2012, 132 S.Ct. 945,

several months after the GPS monitoring occurred in this case. In Jones, the

Supreme Court held that the use of a GPS devise on a vehicle to monitor a

suspect’s movements constitutes a search under the Fourth Amendment and so

requires a warrant. Id. at 949. This decision overruled Ninth Circuit appellate

precedent, which did not require that law enforcement obtain a warrant prior to

installing a GPS tracking device. See United States v. Pineda-Moreno, 591 F.3d

121 (9th Cir. 2010) vacated, 132 S.Ct. 1533 (2012); and United States v. McIver,

186 F.3d 1119, 1127 (9th Cir.1999).

      Unfortunately for Heath, the Jones decision is not retroactive. In Davis v.

United States, ___ U.S. ___, 131 S.Ct. 2419 (2011), the Supreme Court held that

“searches conducted in objectively reasonable reliance on binding appellate

precedent [that is later overruled] are not subject to the exclusionary rule” because

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[e]xcluding evidence in such cases deters no police misconduct and imposes

substantial social costs.” Id. at 2422, 2434. Police officers arresting Davis had

conducted a vehicle search incident to arrest. The search occurred two years prior

to the Supreme Court’s decision in Arizona v. Gant, 556 U.S. 332 (2009), which

narrowed the circumstances when such a search may be conducted without a

warrant. Id. at 2425. When Davis sought to exclude the evidence that resulted

from the search based on Gant, the Supreme Court declined to “set the criminal

free because the constable has scrupulously adhered to governing law” that was in

place at the time. Id. at 2434.

      Similarly, here, there is no evidence that officers did anything but act in an

good faith reliance on existing federal law, and given that law, their reliance is

objectively reasonable. Heath’s allegation that officers did obtain a warrant for a

GPS tracking device at another time does not change the binding precedent upon

which they relied here. Accordingly, the evidence in Heath’s case is not subject to

the exclusionary rule.

II. The government’s motion

      The government moves for leave to file under seal the unredacted discovery

related to the government’s response to Defendant Douglas Edward Heath’s

Motion to Suppress or Dismiss. Based on the reasoning set forth above, the

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information has no bearing on this case, and the documents do not need to be filed.

      Accordingly, IT IS HEREBY ORDERED that the government’s motion

(doc. 39) is DENIED as moot. The documents are not to be filed.

      IT IS FURTHER ORDERED that Heath’s motion to suppress or dismiss

(doc. 35) is DENIED. Heath’s “placeholder” Motion in Limine filed February 28,

2012 on the same grounds (doc. 29) is DENIED for the same reasons.

      DATED this 3rd day of May 2012.




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